Case 1:25-cv-00239   Document 5-4   Filed 01/28/25   Page 1 of 10




                     Exhibit C
Case 1:25-cv-00239   Document 5-4   Filed 01/28/25   Page 2 of 10
Case 1:25-cv-00239   Document 5-4   Filed 01/28/25   Page 3 of 10
Case 1:25-cv-00239   Document 5-4   Filed 01/28/25   Page 4 of 10
Case 1:25-cv-00239   Document 5-4   Filed 01/28/25   Page 5 of 10
Case 1:25-cv-00239   Document 5-4   Filed 01/28/25   Page 6 of 10
Case 1:25-cv-00239   Document 5-4   Filed 01/28/25   Page 7 of 10
Case 1:25-cv-00239   Document 5-4   Filed 01/28/25   Page 8 of 10
Case 1:25-cv-00239   Document 5-4   Filed 01/28/25   Page 9 of 10
Case 1:25-cv-00239   Document 5-4   Filed 01/28/25   Page 10 of 10
